          Case 2:16-cv-01080-HB Document 52 Filed 02/21/18 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LINDA LIANO                         :                         CIVIL ACTION
                                    :
   v.                               :
                                    :
COMPUTER SCIENCES CORPORATION, INC. :                         NO. 16-1080

                                              ORDER


     AND NOW, this 20th day of February, 2018, IT IS HEREBY ORDERED that a
TELEPHONIC status conference is scheduled before the undersigned on WEDNESDAY,
FEBRUARY 21, 2018 at 3:00 P.M. The conference call will be initiated by the court.

        The senior attorney in charge of the matter for each of the parties is required to personally
participate at the conference call. In the event senior counsel is unable to participate, he or she
shall arrange for a representative familiar with the case to be present at the time of the
conference call.


                                                      BY THE COURT:


                                                      /s/ELIZABETH T. HEY
                                                      ______________________________
                                                      ELIZABETH T. HEY
                                                      UNITED STATES MAGISTRATE JUDGE
